                  Case 2:22-mc-00069-RSL Document 1-11 Filed 08/12/22 Page 1 of 2




From:               Jack DiSorbo <Jack.DiSorbo@oag.texas.gov>
Sent:               Friday, August 12, 2022 4:55 AM
To:                 WAWDdb_NewCasesSea
Cc:                 patrick.sweeten_oag.texas.gov; Will Thompson; Aaron Barnes; Zachary Berg; Ari Herbert; Munera Al-
                    Fuhaid; Kathleen Hunker
Subject:            Application for entry of a Miscellaneous Case, Office of the Texas Attorney General, Motion to quash
                    foreign subpoena
Attachments:        Motion to quash documents.zip

Follow Up Flag:     Follow up
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CAUTION - EXTERNAL:



Good morning,

It is my intention to request the opening of a miscellaneous case for the purpose of moving to
quash a subpoena issued by the Western District of Texas to a recipient who resides in the
Western District of Washington. The filing is made on an emergency basis, for the reason that
the subpoena at issue is set to be executed this coming Monday, August 15th, 2022.

The following documents are attached to this email.

   i.      Motion for admission pro hac vice;

   ii.     Opposed emergency motion to stay subpoena; Unopposed motion to transfer to
           consolidated cases; or in the alternative opposed motion to quash;

   iii.    Memorandum in support of motion;

   iv.     Exhibits to memorandum in support of motion

           A.   Declaration of Jacey Jetton;
           B.   Declaration of Adam Foltz;
           C.   Subpoena to Jacey Jetton;
           D.   Subpoena to Adam Foltz;
           E.   Jacey Jetton’s objections to subpoena;
           F.   Adam Foltz’s objections to subpoena;
           G.   Subpoena to Dave’s Redistricting App;
           H.   Motion;

   v.      Proposed order.




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                Case 2:22-mc-00069-RSL Document 1-11 Filed 08/12/22 Page 2 of 2

Concurrent with this email, we are sending these materials to counsel for Dave’s Redistricting
App (the party receiving the subpoena) and counsel for the United States (the party sending the
subpoena).

As set forth in the motion for admission pro hac vice, we also respectfully request a limited
exemption from the local counsel rule.

Please advise if there are any other materials I should include in this request.

Respectfully,

Jack DiSorbo

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Jack DiSorbo
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attachments or clicking on links.




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